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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. CR-03-2365 JB

DANIEL SHADOWHAWK FOGHORN,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on: (i) United States Notice of Intention to Use

Transcript of Defendant’s Testimony From Prior Trial in the Government’s Case in Chief, filed

February 18, 2005 (Doc. 145); (ii) United States Supplement to the Notice of Intention to Use

Transcript of Defendant’s Testimony From Prior Trial in the Government’s Case in Chief, filed May

31, 2005 (Doc. 163); (iii) Supplement to United States Notice of Intention to Use Transcript of

Defendant’s Testimony from Prior Trial in the Government’s Case in Chief, filed July 18, 2005 (Doc.

179); and (iv) the Defendant’s Notice of Objection to U.S. Notice of Intent to Introduce in

Government’s Case in Chief Defendant’s Prior Trial Testimony, filed July 22, 2005 (Doc. 183). The

counsel for the United States and for Defendant Daniel Shadowhawk Foghorn have reviewed the

proposed trial transcript and have agreed that all references to the prior trial will be modified to

ensure that no reference is made to prior trial proceedings. The only remaining issues regarding the

transcript as proposed that are in dispute are as follows:

       1. The United States wishes to strike lines 23-25 on page 118 continuing to lines 1-8 on page

119. Pursuant to the doctrine of completeness, Foghorn requests this testimony be read with the
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preceding and subsequent testimony. The Court will overrule Foghorn’s objection in part and sustain

it in part. The prior testimony relates to what occurred, and the subsequent testimony relates to

Foghorn’s intentions. The requested testimony in lines 118:23 - 119:5 is about Foghorn’s feelings.

The prior and subsequent testimony are complete without the requested testimony in those lines,

because they deal with a separate subject -- Foghorn’s feelings now about what happened that night.

On the other hand, lines 6-8 on page 119 relates to intent; it needs to be read with the subsequent

testimony.

        2. Foghorn objects to the reading of the testimony on page 118, lines 12-18, page 133, lines

18-25, and on page 134, lines 1-8 on the grounds it contains testimony ascribed to a third person,

which testimony Foghorn did not specifically adopt. Foghorn contends that this testimony is not

therefore an admission of a party under rule 801(d)(2)(B) of the Federal Rules of Evidence and that

the United States may not present this evidence to the jury as the United States proposes.

                a. The first sentence in lines 12-13 on page 118 should not be read. The second

sentence shall be modified to say: “Did you tell your father that you had seen Trevor kicking Paul

Williams and hitting him in the head with a rock?” The last sentence, in lines 17-18 on page118,

should not be read.

                b. Lines 18-25 on page 133 and lines 1-8 on page 134 should be modified as follows:

                Q. You told him that Trevor had told you that he had faced a superior
                power or superior force.

                A. No, I did not. I told him that we went back and we beat him some
                more.

        IT IS ORDERED that the Defendant’s Objections are sustained in part and overruled in part,

as indicated in this order.


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                                             __________________________________________
                                             UNITED STATES DISTRICT JUDGE




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